          Case 1:22-cr-00166-BAH Document 31 Filed 10/12/22 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                       Plaintiff,           )
                                            )
vs.                                         )        Case No. 22-cr-00166-01-BAH
                                            )
JOHN GEORGE TODD III,                       )
                                            )
                       Defendant.           )

            DEFENDANT’S STATUS REORTAND SUGGESTIONS IN SUPPORT OF
                      DEFENDANT’S MOTION TO CONTINUE


       Comes now Ronna Holloman-Hughes, Assistant Federal Public Defender, and as ordered

provides this Court a status report on defendant, John George Todd II, and whether he can

proceed to trial on this docket.

       1. As the Court is aware Mr. Todd attempted suicide a couple of weeks ago. Based on

           this the Court amended his bond to include mental health assessment and treatment.

       2. Undersigned counsel has spoken to Mr. Todd. He was recently released from Nevada

           Regional hospital, Friday October 7, 2022 and is currently living with his mother.

       3. He has had one telehealth session with Comprehensive Mental Health in

           Independence, Missouri.

       4. He has made an appointment with the Veterans Administration for services.

       5. Undersigned counsel has emailed releases to Mr. Todd and will provide the court

           with an updated as that information is provided.

       6. Because of her conversations with Mr. Todd, and his continued need for mental

           health assessment and treatment, counsel does not believe Mr. Todd can assist in his
          Case 1:22-cr-00166-BAH Document 31 Filed 10/12/22 Page 2 of 2




           defense.

       7. Mr. Todd does not object to this continuance request and understands that he is

           waiving his right to a speedy trial.

       WHEREFORE Defendant, through counsel Ronna Holloman-Hughes request this case be

       continued from the trial docket beginning November 14, 2022.



                                              Respectfully submitted,

                                              /s/Ronna Holloman-Hughes
                                              Ronna Holloman-Hughes
                                              Assistant Federal Public Defender
                                              1000 Walnut, Suite 600
                                              Kansas City, MO 64106
                                              (816) 471-8282




                                 CERTIFICATE OF SERVICE

       In accordance with Rule 49(a), (b) and (d), Fed. R. Crim. P., and Rule 5(b), Fed. R. Civ.

P., it is hereby CERTIFIED that on October 12, 2022, one copy of the foregoing motion was

electronically delivered to all participants of the ECF filing system.

                                                      /s/ RONNA HOLLOMAN-HUGHES
                                                      Ronna Holloman-Hughes
